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                    IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                            FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                                              PLAINTIFF

VS.                        CASE NO. 13-50079-006

MIGUEL ANGEL LANDEROS-
ESTRADA                                                               DEFENDANT

             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

      Pursuant to the provisions of 28 U.S.C. § 636(b)(1) and (3),

Local Rule 72.1 ¶ XII, and General Order No. 40, this matter was

referred to the undersigned for the purposes of conducting a waiver

of indictment and plea hearing pursuant to Rule 7(b) and Rule 11 of

the Federal Rules of Criminal Procedure.                   Such a hearing was

conducted on October 22, 2013, and, pursuant to a written plea

agreement, the Defendant, Miguel Angel Landeros-Estrada, waived

indictment    and    entered   a   plea     of   guilty    to   the   one    count

information charging him with possession of methamphetamine with

the intent to distribute, in violation of 21 U.S.C. § 841(a)(1).

After conducting the hearing in the form and manner prescribed by

Rule 7(b) and Rule 11, the undersigned finds:

      1.     The Defendant, after consultation with his counsel, has

knowingly and voluntarily waived indictment and consented, both in

writing and on the record at the hearing, to the entry of his

guilty plea to an information before the undersigned, with the plea

being subject to final approval by United States District Judge

Jimm Larry Hendren.
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      2.     The Defendant and the Government have entered into a

written plea agreement which has been disclosed in open court

pursuant to Rule 11(c)(2), and the undersigned has directed that

the plea agreement be filed.

      3.     The Defendant is fully competent and capable of entering

an informed plea; the Defendant is aware of the nature of the

charges, the applicable maximum penalties, and the consequences of

the plea; the Defendant is fully satisfied with his counsel and has

had sufficient time to consult with him; and the plea of guilty is

a knowing and voluntary plea supported by an independent basis in

fact containing each of the essential elements of the offense.

      4.     The   Defendant    understands     his     constitutional       and

statutory rights and wishes to waive these rights.

      5.     The parties were informed, both in writing and on the

record at the hearing, of their right to file written objections

within     fourteen   (14)   days   after   receipt     of   this   Report   and

Recommendation.       To expedite acceptance of the guilty plea, the

parties waived, both on the record and in writing, their right to

file objections.

      Based on the foregoing, the undersigned recommends that the

guilty plea be accepted and that the written plea agreement be

tentatively approved, subject to final approval at sentencing.
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      DATED this 22nd day of October, 2013.



                                          /s/ Erin L. Setser
                                          HON. ERIN L. SETSER
                                          UNITED STATES MAGISTRATE JUDGE
